                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION
                                    5:06CV11-1-V
                                    5:99CR12-8-V



SHAUN POSTON,                       )
                                    )
            Petitioner,             )
                                    )
            v.                      )                        ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)


        THIS MATTER comes before the Court for an initial review of Petitioner’s Motion to

Vacate, Set Aside, or Correct Sentence, filed January 9, 2006.

        On September 15, 2000, after a trial by jury, Petitioner was convicted of violating 21

U.S.C. §§ 841 and 846. On March 5, 2001, this Court sentenced Petitioner to 360 months

imprisonment and five years of supervised release. The United States Court of Appeals for the

Fourth Circuit upheld Petitioner’s sentence and conviction in an unpublished opinion filed

February 1, 2002. On June 3, 2002, the United States Supreme Court denied Petitioner’s petition

for writ of certiorari.

        On November 3, 2003, Petitioner filed a Motion to Vacate, Set Aside, or Correct

Sentence with this Court (5:03CV143-V). On March 2, 2004, this Court dismissed Petitioner’s

Motion to Vacate as untimely. On July 23, 2004, the United States Court of Appeals for the

Fourth Circuit upheld the denial of his Motion to Vacate. Petitioner has now filed a second

motion to vacate, set aside, or correct sentence with this Court.



       Case 5:99-cr-00012-KDB            Document 424         Filed 01/24/06       Page 1 of 2
       Under the Antiterrorism and Effective Death Penalty Act (AEDPA), "a second or

successive motion must be certified . . . by a panel of the appropriate court of appeals. . ." 28

U.S.C. § 2255 (1997). Therefore, the Petitioner must first certify his claim with the Fourth

Circuit Court of Appeals before he can file his successive claim in the District Court.

       THEREFORE, IT IS HEREBY ORDERED that Petitioner’s Motion to Vacate, Set

Aside, or Correct Sentence is DISMISSED without prejudice as successive.



                                                      Signed: January 24, 2006




                                                  2


       Case 5:99-cr-00012-KDB           Document 424         Filed 01/24/06      Page 2 of 2
